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                    IN THE UNITED STATES BANKRUPTCY COURT
            FOR THE NORTHERN DISTRICT OF ILLIONIS, EASTERN DIVISION
       _____________________________________________________________________
       In Re:                        )
                                     )   NO. 13 B 15457
       FRANK DEJULIO and,            )
       CONNIE DEJULIO,               )
                                     )   Chapter 11
          Debtors                    )
                                     )
                                     )   Honorable Judge Donald R. Cassling
                                     )
       _____________________________________________________________________

                            PLAN OF REORGANIZATION
       _____________________________________________________________________


       FRANK DEJULIO and CONNIE DEJULIO, Debtors and Debtors-in-Possession in

this Chapter 11 Case (hereinafter “the Debtors”), by and through their Attorneys, Paul M.

Bach and Penelope N. Bach, Of Counsel with Sulaiman Law Group, Ltd. and proposes the

following Plan of Reorganization (hereinafter called “Plan” or “the Plan”) in accordance with

Section 1121 (a) of the Bankruptcy Code.

       This Plan is the Debtors’ proposal for the payment of their creditors’ claims as of the

Date of Relief, April 12, 2013.

       The Debtors, by this Plan, solicit the acceptances of all creditors whose claims are

Impaired. The Debtors believe that acceptance of this Plan would be in the best interest of the

Debtors’ creditors. THE DEBTORS URGE ALL CREDITORS TO ACCEPT THIS PLAN.




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                                           PREAMBLE

        The Debtors filed their voluntary petition for relief pursuant to Chapter 11 of the

Bankruptcy Code on April 12, 2013. The Debtors have operated their businesses (1)Smokey's

BBQ, Inc.-Retail Food; (2)Windy City Stucco & Masonry; and (3) Rental Real Estate) and

managed their financial affairs as Debtors-in-Possession since the inception of this

reorganization case pursuant to Sections 1101 and 1107 of the Bankruptcy Code. No trustee,

examiner or committee of unsecured creditors have been appointed to serve in this Chapter 11

case.

        The Debtors are the proponents of this Plan as well as the Disbursing Agent. This Plan

provides for distributions to the holders of allowed claims from the continued operation of their

business of ((1)Smokey's BBQ, Inc.-Retail Food; (2)Windy City Stucco & Masonry; and (3)

Rental Real Estate) and from employment.

        In Summary, and as stated in detail below, the Debtors own four improved parcels of real

estate (this Plan does not include the real estate owned by Cake, Inc. upon which Smokey’s

BBQ, Inc. operates). All of Debtors’ creditor claims relate to one of these four parcels of real

estate. The Debtors’ Plan contains but is not limited to the following provisions:

        1) The Debtors are modifying the mortgage ( by reducing the secured claim from

           $352,952.99 to $265,000.00) as to 7239 West Palatine, Chicago, Illinois;

        2) The Debtors are modifying the mortgage (reducing the secured claim to (reducing the

           secured claim from $416,341.10 to $270,000.00) as to 391 Pinehurst Drive, Des

           Plaines, Illinois;

        3) The Debtors will be making current mortgage payments and payments towards the

           arrears as to their residence located at 937 N. Grace Avenue, Park Ridge, Illinois

           60068; and

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       4) The Debtors will be making current mortgage payments (no arrears) as to 7572 W.

           Devon Avenue, Chicago, Illinois 60631.

               The Debtors previously obtained a Chapter 7 Bankruptcy Discharge in Case

           Number 12 B 44617. As a result, the Debtors have no unsecured claims (priority

           and/or non priority) and the effect of Confirmation of this Plan of Reorganization is

           that the second mortgages as to 7239 West Palatine, Chicago, Illinois and 937 N.

           Grace Avenue, Park Ridge, Illinois no longer have liens and are stripped off and the

           amount owed on each of the first mortgages for 7239 West Palatine, Chicago, Illinois

           and 391 Pinehurst Drive, Des Plaines Illinois are reduced to the amount secured claim

           plus the interest provided for by this Plan of Reorganization.


       For a complete discussion of the mechanics of this Plan, the reader’s attention is directed

to the Disclosure Statement filed by the Debtors in connection with this Plan.



                                    ARTICLE I DEFINITIONS


       The following terms, when used herein, shall have the meaning specified below, unless

the context otherwise requires:

1.1 Administrative Expense: A cost or expense of administration of this Chapter 11 case,

including any actual and necessary expense of preserving or liquidating the estate, or of

operating the business of the Debtors and all allowances approved by the Bankruptcy Court in

accordance with applicable provisions of the Bankruptcy Code.

1.2 Allowed Claim: A claim is one or more of the following: (i) a proof of claim which is filed

within the time fixed by the Bankruptcy Court or applicable rules or statutes, and with respect to

which no objection has been timely filed by any party in interest, or (ii) that has been, or

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hereafter is, listed by the Debtors as liquidated in amount and not disputed or contingent, or (iii)

that has been allowed by Order of this Court, or (iv) that is allowed by the provisions of this

Plan.

1.3 Allowed Interest: An “Interest” (as defined below) (i) proof of which has been filed within

the time fixed by the Bankruptcy Rules or within the time fixed by the Bankruptcy Court; or (ii)

that has been scheduled in the list of equity security holders prepared and filed with the

Bankruptcy Court; and (iii) that has been allowed by Order of this Court, or (iv) that is allowed

by the provisions of this Plan.

1.4 Bankruptcy Code: Title 11 of the United States Code, Section 101 et seq., as amended.

1.5 Bankruptcy Court: The United States Bankruptcy Court for the Northern District of Illinois,

Eastern Division.

1.6 Bankruptcy Rules: The Federal Rules of Bankruptcy Procedure as prescribed by the Supreme

Court of the United States.

1.7 Chapter 11: Chapter 11 of the Bankruptcy Code.

1.8 Claim: The term “Claim” shall have the meaning set forth in Section 101(5) of the

Bankruptcy Code

1.9 Confirmation: The entry by the Bankruptcy Court of a Final Order confirming the Plan in

accordance with the provisions of Chapter 11 of the Bankruptcy Code.

1.10 Debtors: FRANK DEJULIO and CONNIE DEJULIO

1.11 Debtors in Possession: FRANK DEJULIO and CONNIE DEJULIO,

1.12    Effective Date: Thirty (30) days following the entry of a Final Order confirming this

Plan.

1.13    Final Order: (a) an order or a judgment that has not been reversed, stayed, modified or



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amended, and as to which the time to appeal or seek reargument, reconsideration or rehearing

has expired and has not been extended and as to which no appeal, petition for certiorari,

reargument, reconsideration or rehearing is pending, or (ii) an order or a judgment for which an

appeal, reargument, reconsideration, rehearing or certiorari has been sought, and as to which the

order or judgment has been affirmed or the request for reargument, reconsideration, rehearing or

certiorari has been denied, and the time to take any further appeal, reargument, reconsideration,

rehearing or certiorari has expired, so that in the event of either (i) or (ii), such order or judgment

shall have become final and non-appealable in accordance with applicable law.

1.14   Late Filed Claims: A claim for which the claimant filed a proof of claim after the

deadline set by the Court for filing proofs of claim.

1.15   Month: A calendar month, including the month in which a date or event occurs.

1.16   Plan: This Plan of Reorganization including any amendments or modifications thereto.

1.17   Pro-rata: With respect to any distribution on account of any claim or matter, in the same

proportion as the amount of such claim or matter bears to the aggregate amount of all claims or

matters of its class. Unless otherwise defined, the words and phrases used herein shall have the

meanings ascribed in the Bankruptcy Code and in the Bankruptcy Rules.

                                    ARTICLE II

              CLASSIFICATION OF CLAIMS AND INTERESTS

       2.1 Allowed Claims against and Allowed Interests in the Debtors in this estate shall be

fixed and determined as of the Petition Date and are classified as follows:

       Administrative Expenses

       Class One - Unimpaired Secured Claim of Wells Fargo Bank, N.A. as to 7572 W. Devon

Avenue, Chicago, Illinois.



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        Class Two - Impaired Secured Claim of Astoria Federal Savings & Loan Association as

to 937 North Grace Avenue, Park Ridge, Illinois.

        Class Three - Impaired Secured Claim of The Bank of New York Mellon et al. as to 7239

West Palatine, Chicago, Illinois.

        Class Four - Impaired Secured Claim of PNC Bank as to 391 Pinehurst, Des Plaines,

Illinois.

        2.2 Resolution of Disputes: Disputes regarding the proper classification of Claims shall

be resolved pursuant to the procedures established in the Bankruptcy Code, the Rules and other

applicable laws. The Court shall have exclusive jurisdiction over disputes concerning the

classification of claims. Resolution of any such disputes shall not be a condition precedent to

Confirmation or Consummation of the Plan.


        2.3 A Claim or Interest is classified in a particular Class only to extent that the Claim or

Interest qualifies within the description of that Class.


        2.4 Distributions of Disputed Claims: Payments and distributions to each holder of a

Disputed Claim that ultimately becomes an Allowed Claim shall be made in accordance with the

provisions of this Plan with respect to the Class of Creditors to which the respective holder of an

allowed Claim belongs. Such payments and distributions shall be made as soon as practicable

after the date that the order or judgment allowing such Claim is a Final Order.




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                                         ARTICLE III

                       TREATMENT OF CLAIMS AND INTERESTS



       3.1 TREATMENT OF UNIMPAIRED CLAIMS

The following class(s) are unimpaired by the Plan in accordance with Section 1124 of the

Bankruptcy Code or are not required to be classified in this Plan of Reorganization under

provisions of the Bankruptcy Code


          Administrative Expenses These claimants represent claims arising post-petition.
          Any Administrative Expense that is an Allowed Claim shall be paid by the
          Reorganized Debtor, in full, in cash or as otherwise agreed. Payment of Professional
          Fees shall be subject to the provisions of Section 330(a) and 331 of the Bankruptcy
          Code or as otherwise provided by the Plan. United States Trustee and other
          bankruptcy fees shall be paid in full on or before the Effective Date or as they come
          due thereafter. The source of payment for these amounts will be the Debtors' income
          from operations and from employment. The Debtors expect Administrative Claims
          will be approximately $25,000.00 as of the Effective date.

          CLASS 1-Secured Claim of Wells Fargo Bank, N.A. as to 7572 W. Devon
          Avenue, Chicago, Illinois. Wells Fargo Bank, N.A. asserts in its Proof of Claim
          (Number 8) that it holds a perfected first mortgage on the real estate commonly
          known as 7572 W. Devon Avenue, Chicago, Illinois in the amount of $287,575.22.
          The fair market value of 7572 , Chicago, IL 60643 exceeds $287,575.22.
          Consequently, any alleged claim by Wells Fargo Bank, N.A. is a fully secured claim
          of $287,575.22. The secured claim is dealt with in this Class 1 and is not impaired.
          Commencing with the first payment due after the Petition Date, the Debtors shall
          make monthly mortgage payments to Wells Fargo Bank, N.A. directly in the amount
          of $2,733.68 in accordance with the terms of the underlying loan documents
          increased or decreased as necessary to reflect changes in variable interest rates,
          escrow requirements.


       3.2 TREATMENT OF IMPAIRED CLAIMS

       The claims in the Classes listed below are impaired by the Plan:

       A. ALLOWED SECURED CLAIMS THAT ARE IMPAIRED

          Claimants together include each Allowed Secured Claim held by a Creditor that is
          secured by one or more of the Debtor’s Assets and is not disputed, contingent or

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      unliquidated and allowed as of the effective date. Each creditor shall be paid as stated
      in the detail under each claim.


      CLASS TWO-Secured Claim of Astoria Federal Savings & Loan Association
      (hereinafter called "Astoria”) Astoria Federal Savings & Loan Association asserts in
      its Proof of Claim Number 9 that it holds the perfected first mortgage on the real
      estate commonly known as 937 North Grace Avenue, Park Ridge, Illinois 60068 in
      the amount of $597,367.85. Commencing with the first payment due after the
      Petition Date, the Debtors shall make monthly mortgage payments to Astoria directly
      in the amount of $2,671.79 in accordance with the terms of the underlying loan
      documents which shall be increased or decreased as necessary to reflect changes in
      variable interest rates and escrow requirements. The default (arrears) in the amount
      of $71,301.30 that existed as to Class Two on the Petition date makes Astoria an
      impaired creditor, and this default will be paid by a payment monthly beginning the
      month following the effective date in the amount of $594.18 per month for one
      hundred and twenty months.

      CLASS THREE-The Bank of New York Mellon FKA The Bank of New York
      Successor Trustee to JPMorgan Chase Bank, N.A. as Trustee for the Bear Stearns
      ALT-A Trust Mortgage Pass Through Certificates, Series 2005-2 (hereinafter called
      “The Bank of New York Mellon”) as to 7239 W. Palatine, Chicago, Illinois. The
      Bank of New York Mellon asserts in its Proof of Claim (Number 4) that it holds a
      perfected first mortgage on the real estate commonly known as 7239 W. Palatine,
      Chicago, Illinois in the amount of $352,952.99. The Court has determined that the
      fair market value of 7239 W. Palatine, Chicago, Illinois is $265,000.00.
      Consequently, any alleged claim by The Bank of New York Mellon Bank is a secured
      claim (any unsecured claim was discharged in Case 12 B 44617) of $265,000.00. The
      secured claim of The Bank of New York Mellon Bank in the amount of $265,000.00
      plus 5.25 percent interest shall be paid as follows:

      The secured claim of The Bank of New York Mellon in the amount of $265,000.00
      shall be combined, recast and restructured (the “The Bank of New York Mellon Bank
      Restructured Promissory Note”). The Bank of New York Mellon Bank Restructured
      Promissory Note shall be in the amount of $265,000.00 at the rate of 5.25% for thirty
      years. The Debtors will pay The Bank of New York Mellon Bank in the amount of
      $1,463.64 per month payable on the 15th of the month until paid in full (thirty years)
      beginning the month following the effective date. The Bank of New York Mellon
      Bank Restructured Promissory Note may be prepaid without penalty. Once The Bank
      of New York Mellon Bank’s secured claim has been paid, in full, The Bank of New
      York Mellon Bank shall cause the security interests to be released and any other loan
      documentation, to be cancelled and surrendered as satisfied. The Bank of New York
      Mellon Bank's secured claim is impaired under the Plan.

      CLASS FOUR-PNC Bank, N.A. (hereinafter called “The Bank of New York
      Mellon”) as to 391 Pinehurst Drive, Des Plaines, Illinois. PNC Bank, N.A. asserts in

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           its Proof of Claim (Number 3) that it holds a perfected first mortgage on the real
           estate commonly known as 391 Pinehurst Drive, Des Plaines, Illinois in the amount
           of $416.341.10. The Court has determined that the fair market value of 391
           Pinehurst Drive, Des Plaines, Illinois is $270,000.00. Consequently, any alleged
           claim by PNC Bank, N.A. is a secured claim (any unsecured claim was discharged in
           Case 12 B 44617) of $270,000.00. The secured claim of PNC Bank, N.A. in the
           amount of $270,000.00 plus 5.0 percent interest shall be paid as follows:

           The secured claim of PNC Bank in the amount of $270,000.00 shall be combined,
           recast and restructured (the “PNC Bank, N.A. Restructured Promissory Note”). The
           PNC Bank, N.A. Restructured Promissory Note shall be in the amount of
           $270,000.00 at the rate of 5.0% for thirty years. The Debtors will pay PNC Bank,
           N.A in the amount of $1,449.42 per month payable on the 15th of the month until paid
           in full (thirty years) beginning the month following the effective date. The PNC
           Bank, N.A Restructured Promissory Note may be prepaid without penalty. Once PNC
           Bank N.A.’s secured claim has been paid, in full, PNC Bank, N.A. shall cause the
           security interests to be released and any other loan documentation, to be cancelled
           and surrendered as satisfied. PNC Bank N.A.'s secured claim is impaired under the
           Plan.


                          ARTICLE IV IMPLEMENTATION OF PLAN


       4.1 All of the assets of the Debtors and this estate shall vest in the Debtors upon

Confirmation of the Plan subject only to the terms and conditions of this Plan.

       4.2 The Debtors shall be entitled to manage their affairs and operate their businesses

without further Order of this Court.

       4.3 Upon Confirmation, the Confirmed Plan shall become a binding agreement between

the debtors and their creditors, superseding all pre-petition obligations of the Debtors to its

Creditors. So long as Debtors act in accordance with the Plan terms, Creditors shall have no right

of action (including but not limited to proceeding with a foreclosure sale and other State Court

rights) against Debtors to pursue Debtors for payment and Creditors are enjoined and prohibited

from taking such action. Any such action by a Creditor violating this paragraph shall give the

Debtors a Cause of Action against such Creditor for Damages which shall be determined just as

Damages are computed and allowed for a Violation of the Automatic Stay/Discharge
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Injunction/Confirmation Order.

       4.4 This Plan is self-executing. The Debtors shall not be required to execute any newly

created documents to evidence the claims, liens or terms of repayment to the holder of any

Allowed Claim. Furthermore, upon the completion of the payments required under this Plan to

the holders of Allowed Claims, such Claims and any liens that may support such Claims shall be

deemed released and discharged.

       4.5 There is no security for the debt to PNC Bank , N.A. (2nd Mortgage on 7239 West

Palatine, Chicago, Illinois-See Docket 33-Proof of Claim 1) and for purposes of this Chapter 11

case as to 7239 West Palatine, Chicago, Illinois. Upon completion of payments to Class Two the

mortgage lien of PNC Bank, N.A. is stripped off as a mortgage lien as to 7239 West Palatine,

Chicago, Illinois and PNC Bank, N.A shall release the second mortgage as 7239 West Palatine,

Chicago, Illinois.

       4.6 There is no security for the debt to Bank of America, N.A. and/or U.S. Bank National

Association, as Successor Trustee to LaSalle Bank, N.A. as Trustee for the Security Holders of

the Green Point Mortgage Funding Trust 2005-HE3, An Asset Backed Note Series 2005-HE3

(2nd Mortgage on 937 N. Grace Avenue, Park Ridge, Illinois-See Docket 49-Proof of Claim 6)

and for purposes of this Chapter 11 case as to 937 N. Grace Avenue, Park Ridge, Illinois. Upon

completion of payments to Class Two the mortgage lien of Bank of America, N.A. and/or U.S.

Bank National Association, as Successor Trustee to LaSalle Bank, N.A. as Trustee for the

Security Holders of the Green Point Mortgage Funding Trust 2005-HE3, An Asset Backed Note

Series 2005-HE3 is stripped off as a mortgage lien as to 937 N. Grace Avenue, Park Ridge,

Illinois and Bank of America, N.A. and/or U.S. Bank National Association, as Successor Trustee

to LaSalle Bank, N.A. as Trustee for the Security Holders of the Green Point Mortgage Funding



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Trust 2005-HE3, An Asset Backed Note Series 2005-HE3 shall release the second mortgage as

to 937 N. Grace Avenue, Park Ridge, Illinois.

        4.7 . The Debtors previously obtained a Chapter 7 Bankruptcy Discharge in Case

Number 12 B 44617. As a result, the Debtors have no unsecured claims (priority and non

priority) and the effect of Confirmation of this Plan of Reorganization is that and the amount

owed on the first mortgages on 7239 West Palatine, Chicago, Illinois and 391 Pinehurst Drive,

Des Plaines Illinois is excess of the secured claim is reduced to the secured claim and any

amounts above the secured claim cannot be collected.

        4.8 Claims secured by a mortgage on real property of the debtors in which the Debtors

were in Default at the time of filing of the Petition (Class One only), shall be treated as follows:


(a) Prepetition defaults. If the debtors pay the cure amount specified in this Plan, while timely

making all required post petition payments, the mortgage will be reinstated according to its

original terms, extinguishing any right of the mortgagee to recover any amount alleged to have

arisen prior to the filing of the petition.


(b) Postpetition defaults. Within 30 days of issuing the final payment of any cure amount

specified in this Plan, the Debtors shall serve upon the mortgagee a notice stating (1) that the

cure amount has been paid, satisfying all prepetition mortgage obligations of the debtor, (2) that

the mortgagee is required to treat the mortgage as reinstated and fully current unless the Debtors

have failed to make timely payments of postpetition obligations, (3) that if the Debtors have

failed to make timely payments of any postpetition obligations, the mortgagee is required to

itemize all outstanding payment obligations as of the date of the notice, and file a statement of

these obligations with the court, giving notice to the debtors, and any attorney for the debtors,

within 60 days of service of the notice from the trustee (or such longer time as the court may

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order), (4) that if the mortgagee fails to file and serve a statement of outstanding obligations

within the required time, the mortgagee is required to treat the mortgage as reinstated according

to its original terms, fully current as of the date of the Debtors' notice, and (5) that if the

mortgagee does serve a statement of outstanding obligations within the required time, the

Debtors may (i) within 30 days of service of the statement, challenge the accuracy of the

statement by motion filed with the court, on notice to the mortgagee, with the court resolving the

challenge as a contested matter, or (ii) propose a modified plan to provide for payment of

additional amounts that the Debtors acknowledges or the court determines to be due. To the

extent that amounts set forth on a timely filed statement of outstanding obligations are not

determined by the court to be invalid or are not paid by the Debtors through a modified plan, the

right of the mortgagee to collect these amounts will be unaffected. No liability shall result from

any non-willful failure of the debtors to serve the notice required by this subparagraph.



                                ARTICLE V EXECUTORY CONTRACTS

        5.1 All executory contracts and unexpired leases which exist between the Debtors and

any other party, whether such executory contract be in writing or oral, which has not been

previously assumed, assigned or rejected by the Debtors shall be deemed assumed by the

Debtors as of the Confirmation of this Plan.



                                                 ARTICLE VI

                               COURT’S RETENTION OF JURISDICTION

        6.1 The Bankruptcy Court shall retain jurisdiction after Confirmation to: (i) consider

applications for fees and allowances for professional persons; (ii) supervise the implementation



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of this Plan; (iii) consider objections to claims against the estate of the Debtors and to modify the

Plan based on the outcome of objections; (iv) hear and conclude all adversary proceedings or

contested matters; (v) resolve disputes regarding interpretation of this Plan; (vi) fix expenses of

administration; (vii) enter Orders to further consummation of the Plan; (viii) approve

modification of the Plan upon motions brought before the Bankruptcy Court; (ix) consider all

applications and matters pending before the Bankruptcy Court on the date of Confirmation; (x)

hear and conclude any adversary proceedings and other matters relating or giving rise to

litigation recoveries (xi) enter any order, including injunctions, necessary to enforce title, rights

and powers of the Debtors, and to impose such limitations, restrictions, terms and conditions of

such title, rights and powers as the Bankruptcy Court may deem necessary; and (xii) enter an

Order concluding and terminating this Chapter 11 case.



                                           ARTICLE VII

  CONFIRMATION OF PLAN UNDER SECTION 1129(b) OF THE BANKRUPTCY CODE

       7.1 The Debtors reserve the right, pursuant to Section 1129(b) of the Bankruptcy Code, to

request the Bankruptcy Court to confirm the Plan if all applicable requirements of Section 1129

(a) of the Bankruptcy Code, other than Section 1129(a) (8), are met.



                                               ARTICLE VIII

                                        UNCLAIMED PROPERTY

       8.1 In the event that any distribution made by the Debtors under this Plan remains

unclaimed ninety (90) days after such distribution is made, this distribution will become property

of the Debtors and shall not be recouped in subsequent distributions. After expiration of the



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ninety (90) day period set forth herein, the claimant whose funds remain unclaimed shall forfeit

any and all legal and equitable right to such distribution and the proceeds thereof.



                                           ARTICLE IX

                        INVALIDATION OF LIENS AND DISCHARGE

       9.1 The provisions of the confirmed Plan shall bind all creditors and other parties in

interest, whether or not such persons accept the Plan. The distributions provided under the Plan

shall be in exchange for and in complete satisfaction and release of all Claims against any of the

assets or properties of the Debtors. Unless otherwise specifically provided to the contrary herein

or in the Confirmation Order, on and after Confirmation, all holders of Claims shall be precluded

from asserting any Claim against the Debtors.



                                           ARTICLE X

                                  INTEREST AND PENALTIES

       10.1 Except as otherwise provided herein, or required by the Bankruptcy Code, no

interest or penalties accruing on or after April 12, 2013, shall be paid on any Allowed Claim nor

shall any creditor claiming any such interest or penalty be entitled to have its Claim for interest

or penalty allowed for payment pursuant to the Plan.



                                           ARTICLE XI

                     ALLOWANCE AND DISALLOWANCE OF CLAIMS

       11.01 Disputed Claim. A disputed claim is a claim that has not been allowed or

disallowed [by a final non-appealable order], and as to which either: (i) a proof of claim has been



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filed or deemed filed, and the Debtors or another party in interest has filed an objection; or (ii) no

proof of claim has been filed, and the Debtors have scheduled such claim as disputed, contingent,

or unliquidated.

       11.02 Delay of Distribution on a Disputed Claim. No distribution will be made on

account of a disputed claim unless such claim is allowed [by a final non-appealable order].

       11.03 Settlement of Disputed Claims. The Debtors will have the power and authority to

settle and compromise a disputed claim with court approval and compliance with Rule 9019 of

the Federal Rules of Bankruptcy Procedure.



                                           ARTICLE XII

                                         NO DISCHARGE

       12.01. No Discharge. In accordance with § 1141(d)(3) of the Code, the Debtors

will not receive any discharge of debt in this bankruptcy case.

                                       FRANK DEJULIO and CONNIE DEJULIO,

                                       By: /s/Paul M. Bach____________
                                       Paul M. Bach, one of their attorneys


DEBTORS' COUNSEL:
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